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                      ADDENDUM
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201.001.- Purpose, 105 MA ADC 201.001




  Code of Massachusetts Regulations;Currentness                                                           :•
   Title 105: Department of Public Health
      Chapter 201.000: Head Injuries and Concussions in Extracurricular Athletic Activities (Rcfs &Annos)

                                                  105 CMR 201.001

                                                  201.001: Purpose




The purpose of 105 CMR 201.000 is to provide standardized procedures for persons involved in the prevention, training,
management and return to activity decisions regarding students who incur head injuries while involved in extracurricular
athletic activities, including but not limited to interscholastic sports, in order to protect their health and safety.


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Mass. Regs. Code tit. 105, § 201.001, 105 MA ADC 201.001
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201.006: School Policies. 105 MA ADC 201.006




  Code of Massachusetts Regulations Currentness
   Title 105: Department of Public Health
     Chapter 201.000:/Head Injuries and Concussions in Extracurricular Athletic Activities (Refs & Annos)

                                                      105 CMR 201.006

                                                  201.006: School Policies




(A) All school districts and schools must have policies and procedures governing the prevention and management of
sports-related head injuries within the school district or school. The School Committee or Board of Trustees, consulting with
the Board of Health where appropriate, shall adopt policies and procedures governing the prevention and management of
sports-related head injuries within the school district or school following development of a proposal by a team consisting, at a
minimum, of a school administrator, school nurse, school or team physician if on staff, athletic director, licensed athletic
trainer if on staff, neuropsychologist if available, guidance counselor, and teacher in consultation with any existing school
health/wellness advisory committee. Policies and procedures must address sports-related head injuries occurring in
extracurricular athletic activities but may be applied to all head injuries in students. Review and revision of such policies and
procedures shall occur as needed but at least every two years. At a minimum, these policies shall include:



     (1) Designation, by the superintendent or head master, principal or school leader, of the person responsible for the
     implementation of these policies and protocols, either the Athletic Director or other school personnel with administrative
     authority;



     (2) Annual training of persons specified in 105 CMR 201.007 in the prevention and recognition of a sports-related-head
     injury, and associated health risks including second impact syndrome utilizing Department-approved training materials
     or program, and documentation of each person's completion of such training;



     (3) Documentation of physical examination prior to a student's participation in extracurricular athletic activities on an
     annual basis, consistent with 105 CMR 200.100(B)(3) and information for students participating in multiple sports
     seasons that documentation of one physical examination each year is sufficient;



     (4) Procedure for the school to obtain and ensure review, prior to each sports season, of current information regarding an
     athlete's history of head injuries and concussions using either the Department Pre-participation Head Injury/Concussion
     Reporting Form For Extracurricular Activities (Pre-participation Form), or school-based equivalent



     (5) Procedure for medical or nursing review of all Pre-participation Forms indicating a history of head injury;



     (6) Procedure for the school to obtain and ensure timely medical or nursing review of a Department Report of a Head
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201.006: School Policies, 105 MA ADC 201.006



    Injury During Sports Season Form (Report of Head Injury Form), or school-based equivalent, in the event of a head
    injury or suspected concussion that takes place during the extracurricular activity season;



    (7) Procedure for reporting head injuries or suspected concussions sustained during extracurricular athletic activities to
    the school nurse and licensed athletic trainer, if on staff;



    (8) Procedure for identifying a head injury or suspected concussion, removing an athlete from practice or competition,
    and referring for medical evaluation;



    (9) The protocol for medical clearance for return to play after a concussion that at minimum complies with 105 CMR
    201.011;



    (10) Procedure for the development and implementation of post-concussion graduated reentry plans to school and
    academic activities, if indicated, by persons specified in 105 CMR 201.010(E)(1);



    (11) Procedure for providing information, and necessary forms and materials, to all parents and athletes including the:



         (a) annual training requirement,



         (b) procedure for the school to notify parents when an athlete has been removed from play for a head injury or
         suspected concussion sustained during an extracurricular athletic activity,



         (c) protocol for obtaining medical clearance for return to play and academics after a diagnosed concussion,



         (d) parent's responsibility for completion of the Pre-participation Form, or school-based equivalent, and



         (e) parent's responsibility for completion of the Report of a Head Injury Form, or school-based equivalent;



    (12) Inclusion in the student and parent handbooks of information regarding the sports-related head injury policy and
    how to obtain the policy;



    (13) Procedure for communicating with parents with limited English proficiency;

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201.006: School Policies. 105 MA ADC 201.006




     (14) Procedure for outreach to parents who do not return completed forms required for students to participate in
     extracurricular sports and for how to handle situations where a student verifies completion of the annual training
     requirement but a parent has not;



     (15) Procedure for sharing information concerning an athlete's history of head injury and concussion, recuperation,
     reentry plan, and authorization to return to play and academic activities on a need to know basis consistent with
     requirements of 105 CMR 201.000 and applicable federal and state law including but not limited to the Massachusetts
     Student Records Regulations, 603 CMR 23.00, and the Federal Family Educational Rights and Privacy Act Regulations,
     34 CFRPart 99.



     (16) Instructions to coaches, licensed athletic trainers, trainers and volunteers:



          (a) to teach form, techniques, and skills and promote protective equipment use to minimize sports-related head
          injury; and



          (b) to prohibit athletes from engaging in any unreasonably dangerous athletic technique that endangers the health or
          safety of an athlete, such as using a helmet or any other sports equipment as a weapon;



     (17) Penalties, including but not limited to personnel sanctions and forfeiture of games, for failure to comply with
     provisions of the school district's or school's policy.



(B) These policies and procedures shall be made available to the Department and to the Department of Elementary and
Secondary Education upon request



(C) The school or school district shall provide the Department with an affirmation, on school or school district letterhead, that
it has developed policies in accordance with 105 CMR 201.000 and it shall provide an updated affirmation biannually by
September 30th every odd numbered year upon review or revision of its policies.


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